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                          UNITED STATES DISTRICT
                        COURT NORTHERN DISTRICT
                         OF TEXAS DALLAS DIVISION

FAMILY REHABILITATION,                       §
INC., d/b/a FAMILY CARE                      §
TEXAS, d/b/a ANGELS CARE                     §
HOME HEALTH,                                 §
                                             §
       Plaintiff,                            §
                                             §
       v.                                    §     Civil Action No. 3:17-CV-3008-K
                                             §
ALEX M. AZAR, II, SECRETARY                  §
of the UNITED STATES                         §
DEPARTMENT of HEALTH and                     §
HUMAN SERVICES; and SEEMA                    §
VERMA, ADMINISTRATOR for                     §
the CENTERS for MEDICARE and                 §
MEDICAID SERVICES,                           §
                                             §
       Defendants.                           §

                                     ORDER

      Before the Court is Defendants’ Motion for Reconsideration (Doc. No. 61).

After carefully considering the motion, record, and applicable law, the Court DENIES

Defendants’ motion.

       SO ORDERED.

       Signed November 5th, 2018.




                                             __________________________________________
                                             ED KINKEADE
                                             UNITED STATES DISTRICT JUDGE




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